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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

 

CIVIL DIVISION
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QUYNH VU BAIN, ) ; ~ 62
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Plaintiff, > BO,
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OFFICE OF THE ATTORNEY GENERAL ) Lad a
U.S. Department of Justice, ) > g
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OFFICE OF THE DEPUTY ATTORNEY GENERAL

U.S. Department of Justice, Case: 1:21-cv-01751 JURY DEMAND

Assigned To :
OFFICE OF PROFESSIONAL RESPONSIBILITY Assign Date ‘jon 7 dolph D.

U.S. Department of Justice, Description: Employ. Discrim. (H-DECk)
EXECUTIVE OFFICE FOR IMMIGRATION )
REVIEW, U.S. Department of Justice, )
)
OFFICE OF INFORMATION POLICY ) Jury Trial Demanded
U.S. Department of Justice, ) for Second and Third
) Causes of Action
Defendants. ) er
)

 

COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF
Plaintiff Quynh Vu Bain, proceeding pro se, brings this action against the Unie States
Department of Justice and its various named components, collectively referred to as “Defendants.”
Nature of Action
1. This action asserts three separate but related causes of action arising from

Defendants’ September 17, 2020 decision to terminate Plaintiff's employment after 29 years of

exemplary service in the U.S. Department of Justice. See Exhibit 1 (filed under seal).

 

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Angela D. Caesar, Clerk of Court
US. District Court, District of Columbla
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Parties

2. Plaintiff is a resident of the District of Columbia and a citizen of the United States.
She is an Asian-American female of Vietnamese descent in her fifties. She was employed as a
career civil servant in the U.S. Department of Justice from October 1991 to September 2020. Most
recently, she served as an Immigration Judge in the Executive Office for Tmmigration Review for
12 years. At various times, she was assigned to the Headquarters Immigration Court in Falls
Church, Virginia and the Arlington Immigration Court in Arlington, Virginia.

3. Until March 2021, Plaintiff was represented by attorneys who specialized in
government investigations and labor and employment law. At the present lime, Plaintiff is
proceeding pro se and is filing a separate motion for appointment of pro bono counsel to assist her
in prosecuting this action.

4, All of the offices and agencies collectively denoted as Defendants are components
of the United States Department of Justice.

a. The Office of the Attorney General (“OAG”) makes hiring, firing, and other
personnel-related decisions concerning immigration judges.

b. The Office of the Deputy Attorney General (ODAG”) formulates and
recommends disciplinary or adverse actions against immigration judges.

c. The Office of Professional Responsibility (“OPR”) investigates allegations
of misconduct involving Department attorneys, including immigration judges.

d. The Office of Information Policy (“OIP”) adjudicates appeals from the
decisions of individual DOJ components to withhold information that is requested under the

Freedom of Information Act and the Privacy Act.
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e. The Executive Office for Immigration Review (“EOIR”) manages the
operations of the Nation’s 58 immigration courts through the Office of the Director, Office of the
Deputy Director, and Office of the Chief Immigration Judge. At the time of Plaintiffs
employment, the Office of the Chief Immigration Judge had three Deputy Chief Immigration
Judges and approximately sixteen Assistant Chief Immigration Judges. The assistant chief judges
(“ACIJ’s”) oversee the day-to-day work of non-supervisory immigration judges.

Jurisdiction and Venue

5. This civil action consolidates three separate but related causes of action arising
from Defendants’ decision to terminate Plaintiff's employment. This Court has subject matter
jurisdiction under the following statutes:

The Freedom of Information Act and the Privacy Act, 5 U.S.C. §§ 552 & 552a;

The Administrative Procedures Act, 5 U.S.C. § 701 et seq.;

The Civil Service Reform Act (CSRA) of 1978, 5 U.S.C. §§ 1204, 7701, 7702, and 7512;

Title VI of the Civil Rights Act of 1964, 42 U.S.C. § 20006 et seq.;

The Rehabilitation Act of 1973, 29 U.S.C. § 701 et seq.;

The Age Discrimination in Employment Act of 1967, 29 U.S.C. § 621 et seq.;

The Whistleblower Protection Act of 1989, 5 U.S.C. § 2302(b);

The federal question statute, 28 U.S.C. § 1331;

The mandamus statute, 28 U.S.C. § 1361; and

The declaratory judgment act, 28 U.S.C. § 2201.

6. The first cause of action relates to Plaintiff's complaint under the Freedom of

Information Act and Privacy Act, brought to challenge Defendants’ willful failure to release
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information in response to three FOIA requests that Plaintiff filed in September 2015, January
2018, and August 2019. See Exhibit 2 (filed under seal).

a. All of the FOIA requests seek information in the possession, control and
custody of Defendants.

b. Plaintiff has properly and timely exhausted each of the three FOIA requests.
See 5 U.S.C. §§ 552(a)(4)(B).

c. This cause of action is timely commenced within six years after Plaintiff
became aware of the non-disclosure of the requested information and materials. See Spannaus v.
U.S. Department of Justice, 824 F.2d 52, 56 (D.C. Cir. 1987)

d. This Court has original jurisdiction over Plaintiff's complaint under the
FOIA and Privacy Act and reviews de novo the Defendants’ decisions regarding the withholding

or release of information. 5 U.S.C. §§ 552a(g)(3).

7. The first cause of action also challenges Defendants’ willful failure to correct errors
in Plaintiff's personnel records in a timely fashion, which contributed to the use of those erroneous
personnel records in subsequent adverse actions brought against Plaintiff. This Court has original
jurisdiction and reviews de novo the Defendants’ decisions to take or not to take corrective action.
5 U.S.C. §§ 552a(g)(1), 552a(g)(2)(A), and 552a(g)(5).

8. The second cause of action relates to Plaintiff's complaint of discrimination,
retaliation for engaging in protected activity, and hostile work environment. The events underlying
the discrimination complaint occurred between January 2015 and September 2020.

a. Plaintiff has properly exhausted this cause of action with the administrative
agencies authorized to adjudicate her discrimination complaint. Her administrative complaint was

filed with the EEOC on December 10, 2015 and was amended on May 18, 2018. See Exhibit 3
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(filed under seal). It alleges discrimination in violation of Title VII of the Civil Rights Act of 1964
and the Rehabilitation Act of 1973, regarding the events starting in January 2015 that directly led
to her removal on September 17, 2020.

b. On February 26, 2020, an EEOC administrative judge dismissed Plaintiffs
discrimination complaint by summary judgment without a hearing. Plaintiff timely appealed the
administrative judge’s decision to the Justice Department’s Complaint Adjudication Office
(CAO). Thereafter, Plaintiff timely filed a Notice of Appeal and letter brief with the EEOC on
May 1, 2020. See Exhibit 4 (filed under seal).

C. In her appeal to the CAO, Plaintiff advised that one day after the EEOC
administrative judge dismissed her complaint by summary judgment, the Justice Department
proposed her removal on February 27, 2020. Plaintiff requested that the CAO hold the appeal in
abeyance, pending the Attorney General’s disposition of the proposal to terminate her
employment. The CAO declined her request to hold the appeal. Plaintiff next requested that the
EEOC vacate the administrative judge’s decision, reopen the evidentiary record, and remand the
matter for further discovery.

d. While her EEOC appeal was pending, the Attorney General issued a
removal decision on September 17, 2020, terminating Plaintiff's employment in the Justice
Department after 29 years. See Exhibit 1 (filed under seal).

e. On October 19, 2020, within 30 days after her discharge, Plaintiff timely
filed a “mixed case appeal” with the Merit Systems Protection Board (“MSPB”), challenging her
removal on the merits. The appeal notice asserts that Defendants failed to prove the charges and,
in selecting an appropriate penalty, failed to properly weigh the mitigating and aggravating factors

in Douglas v. Veterans Administration, 5 M.S.P.R. 280 (1981). In addition, the appeal notice
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asserts that the Removal Decision relied on information that Defendants refused to produce to
Plaintiff, in violation of 5 U.S.C. §§ 7701(c)(2)(A) & (C). See also 5 U.S.C. § 7701(c)(3). Finally,
the notice asserts two affirmative defenses to removal, one based on violations of federal anti-
discrimination laws, and the other, on violations of the Whistleblower Protection Act.! See Exhibit
5 (filed under seal).

f Regarding her affirmative defense based on discrimination, the MSPB
appeal notice asserts that her removal violates Title VII of the Civil Rights Act of 1964, the
Rehabilitation Act of 1973, and the Anti-Age Discrimination in Employment Act.

g. Regarding her affirmative defense based on whistleblower retaliation, the
MSPB appeal notice asserts that Plaintiff's removal violates the Whistleblower Protection Act of
1989. See 5 U.S.C. §§ 2308 & 2309.

h. By notice sent to Defendants on November 1, 2020, within 45 days of her
removal, Plaintiff advised Defendants that she intends to pursue a “mixed case appeal” before the
MSPB, in which discrimination and whistleblower retaliation are asserted as affirmative defenses
to her removal. See Exhibit 7 (filed under seal).

il On April 29, 2021, after the EEOC affirmed the administrative judge’s
decision to grant summary judgment to Defendants, Plaintiff filed a Motion for Reconsideration
with the EEOC, advising the EEOC of her discharge from federal employment on September 17,
2020. See Exhibit 6 (filed under seal). Plaintiff further advised the EEOC that she is pursuing a
mixed case appeal before the MSPB, in which she asserts discrimination as an affirmative defense

to her removal. Plaintiff requested that the EEOC reconsider its decision to dismiss her EEOC

 

' A “mixed case appeal” is one in which a federal employee “alleges that an appealable
agency action was effected in whole or in part because of discrimination.” Kloeckner v. Solis, 568
US. 41, 44-45 (2012). See also 29 C.F.R. § 1614.302(a)(2); 5 C.F.R. § 1201.151 (2019).

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action by summary judgment, reopen the evidentiary record, and hold the EEOC proceeding in
abeyance pending resolution of the MSPB mixed case appeal, to avoid any potential res judicata
effect or issue preclusion that the EEOC decision might present in the MSPB proceeding.

j. Thereafter, Plaintiff timely commenced this district court action on June 22,
2021, within 90 days of the EEOC’s March 24, 2021 decision to grant summary judgment to
Defendants, without a hearing.

9. The third cause of action relates to Plaintiff's whistleblower retaliation claim
brought under the Whistleblower Protection Act of 1989, 5 U.S.C. § 2302(b). Plaintiff has
properly and timely exhausted this cause of action with the administrative agencies responsible for
adjudicating it.

a. Through her timely Notice of Appeal filed with the MSPB on October 19,
2020, Plaintiff asserted the whistleblower retaliation claim as an affirmative defense to her
removal. See Exhibit 5 (filed under seal).

b. Through a communication dated November 1, 2020, Plaintiff provided
courtesy notice to Defendants EOIR.

C. Through her April 29, 2021 Motion for Reconsideration filed with the
EEOC, Plaintiff provided courtesy notice to the EEOC. See Exhibit 6 (filed under seal).

10. Soon after Plaintiff filed her October 19, 2020 MSPB appeal, Defendants filed a
“Motion to Reassign/Dismiss” asserting that the MSPB judge assigned to Plaintiffs appeal lacked
Constitutional authority to hear her mixed case appeal, because that judge had not been duly
appointed in accordance with the Appointments Clause of Article II, Section 2, Clause 2 of the
United States Constitution. See Lucia v. Securities and Exchange Commission. 138 S. Ct. 2044

(2018). Plaintiff opposed the dismissal motion.
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11. By Order dated November 16, 2020, the MSPB granted Defendants’ motion to
dismiss for lack of jurisdiction without prejudice to reinstatement, based on the reasoning of Lucia.
The Order of Dismissal provides that Plaintiff's appeal will automatically be reinstated within 180
days of the date of the Order. See Exhibit 8 (filed under seal).

12, On May 18, 2021, the MSPB reinstated Plaintiffs appeal in accordance with its
November 16, 2020 Order of Dismissal. The MSPB, however, stated that it still lacks jurisdiction
over Plaintiff's appeal and would again dismiss the appeal without prejudice to reinstatement,
unless both parties were to consent to the MSPB’s exercise of jurisdiction by June 7, 2021. See
Exhibit 9 (filed under seal),

13. Thereafter, the MSPB issued a second Order of Dismissal without prejudice to
reinstatement. Dated June 8, 2021, the second Order provides that Plaintiff's MSPB appeal will
be automatically reinstated on December 21, 2021. See Exhibit 10 (filed under seal).

14. Upon information and belief, the MSPB has operated without a full quorum of
Board Members since 2017. Without a quorum of Board Members, the MSPB lacks authority to
appoint individual administrative judges in accordance with the Supreme Court’s decision in
Lucia.

15. In view of the MSPB’s continuing lack of jurisdiction over Plaintiff's mixed case
appeal, this district court may exercise subject matter jurisdiction over the MSPB mixed case
appeal and adjudicate it in the first instance. See Perry v. MSPB, 137 S. Ct. 1975, 1979 (2017)
(holding that when the MSPB dismisses a mixed case appeal for lack of subject matter jurisdiction,
the plaintiff may appeal her removal to the federal district court); Kloeckner v. Solis, 568 U.S. 41,
46 (2012) (holding that a federal employee who claims that an agency action appealable to the

MSPB violates an anti-discrimination statute listed in 5 U.S.C. § 7702(a)(1) should seek judicial
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review of the dismissal of her complaint in federal district court, not in the Federal Circuit). See
id. at 604 (stating that under 5 U.S.C. § 7703(b)(2), cases of discrimination subject to § 7702 the
federal district court has original jurisdiction to review de novo the EEOC’s decision on the merits
of a complaint of discrimination, where the action is commenced within 90 days after the issuance
of the EEOC decision).

16. Personal jurisdiction and venue are proper in the District of Columbia, because this
is the district in which Plaintiff resides and in which a substantial number of the acts or omissions
giving rise to Plaintiff's claims occurred. 5 U.S.C. § 552(a)(4)(B); 5 U.S.C. § 552a(g)(5); and 28
US.C. § 1391.

Factual Allegations

17. After six years of successful service as an immigration judge, Plaintiff began to
experience severe, debilitating migraine headaches while conducting court hearings by tele-
videoconference. At the urging of her physicians, she requested a reasonable accommodation of
her medical condition. The requested accommodation was a permanent reassignment to the
Immigration Court in Arlington, Virginia, and, specifically, to that court’s non-videoconference
docket. As Plaintiff was already working in the Arlington court location (but was still assigned to
the Headquarters court’s tele-videoconference court), a reassignment to the Arlington court’s non-
videoconference docket would have been a most suitable accommodation.

18. When her first reasonable accommodation request was denied, Plaintiff filed an
informal EEO complaint with Defendant EOIR in June 2014, challenging the reasonable
accommodation denial as violating Title VU of the Civil Rights Act of 1964 and the Rehabilitation
Act of 1973. Shortly thereafter, Plaintiff began to experience severe harassment that prompted her

to withdraw the internal complaint in August 2014.
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19. The harassment continued even after Plaintiff withdrew her informal EEO
complaint. The harassment took the form of discriminatory and retaliatory personnel actions that
were intended to oust her from the agency, so that her immigration judge position could be given
to an external or internal immigration judge candidate the agency favored.

a. In January 2015, the former Chief Immigration Judge’ admonished Plaintiff
for communicating by email in a rude and disrespectful manner, after Plaintiff complained that
persistently malfunctioning tele-videoconference equipment had prevented her timely completion
of assigned court hearings in detained cases.

b. In March 2015, Plaintiff's immediate supervisor (“ACIJ One”) issued a
reprimand accusing Plaintiff of intemperate behavior. This was the very first disciplinary action
that Plaintiff received in her then 24th year of service in the Justice Department. The reprimand
was issued after Plaintiff objected to a new work assignment that would have (1) exacerbated her
medical condition, and (2) caused her to violate the law governing immigration detention. The
reprimand had the effect of barring Plaintiff from obtaining a reassignment to the Arlington
Immigration Court for a period of three years.

C. In June 2015, the same supervisor issued a counseling letter accusing
Plaintiff of traveling without his authorization to a court location where she conducted her assigned
court hearings in person. Upon his return from a two-week vacation, the supervisor revoked the
travel authorization that Plaintiff had received from other agency personnel and denied her request

for travel reimbursement.

 

® The former Chief Immigration Judge is a white female in her fifties. Upon information
and belief, she left the Defendants’ employ in July 2019.

> ACIJ One is a white male in his forties. Upon information and belief, he left the
Defendants’ employ sometime in 2020.

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d. In August 2015, the same supervisor issued an annual performance rating
that — while crediting Plaintiff with satisfactory work performance — rated her professionalism as
needing improvement. The performance rating referenced the March 2015 reprimand and June
2015 counseling letter as justification for the downgraded performance rating.

e. In November 2015, Plaintiff learned that her second reasonable
accommodation request was denied because of the March 2015 reprimand. Her application for a
Board Member position on the Board of Immigration Appeals, a position for which she was rated
“most qualified,” was also denied.

20. On December 10, 2015, Plaintiff timely filed a formal complaint of discrimination
with the EEOC, alleging that the denial of her second reassignment request and her Board Member
application violated Title VII of the Civil Rights Act of 1964 and the 1973 Rehabilitation Act.

21. Within a month of filing her EEO complaint, Plaintiff was suddenly reassigned to
the Arlington Immigration Court’s non-videoconference docket. However, over the next four
years she continued to experience progressively worse acts of discrimination and retaliation that
eventually culminated in her discharge in September 2020.

22. From 2016 to 2019, Plaintiff's next supervisor (“ACIJ Two”)* assigned her to
complete aged, non-detained cases on the dockets of three white male judges. Many of the cases
had been pending for as long as 15 to 20 years, and Plaintiff was to complete the cases
expeditiously. Plaintiffs supervisor also permitted white judges to dump their unwanted cases on

Plaintiff's hearing calendar, causing numerous scheduling conflicts. During that same period,

 

* ACIJ Two is an Asian-American female of Indian descent in her forties. In July 2019,
she resigned from her position as supervisory judge and began working in the Arlington
Immigration Court as a non-supervisory judge.

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Plaintiffs supervisor assigned her two to three times the number of new cases as we’ re assigned
to white judges. In addition to handling a burgeoning Arlington court caseload, Plaintiff had to
continue hearing detained cases out of the detention facility in York, Pennsylvania by tele-
videoconference.

23. When Plaintiff voiced concern about the very burdensome assignments and
scheduling conflicts, her supervisor issued a counseling letter in August 2016 criticizing Plaintiff
for an email communication with a white female judge. The counseling letter threatened to
terminate Plaintiff's employment. At the time, Plaintiff did not know that, on the same date, the
supervisor issued a similarly worded counseling letter to the white female judge, faulting that judge
for acting unprofessionally toward Plaintiff.

24. In September 2016, Supervisor Two issued a performance rating that — while
crediting Plaintiff with satisfactory work performance — criticized her for a lack of professionalism.
The performance rating referenced the August 2016 counseling letter that the supervisor had issued
the previous month. However, it did not mention the August 2016 counseling letter that she issued
to the white female judge. The performance rating also referenced anonymous complaints that the
supervisor claimed to have received during the rating period. When asked to divulge the identities
of the complainants and the substance of their complaints, the supervisor refused to do so.

25. In late January 2017, Plaintiff learned that Defendant EOIR had released sensitive
information from her personnel file to the American Immigration Lawyers Association (‘AILA”),
a voluntary bar association of immigration attorneys. Plaintiff immediately demanded that EOIR

retract or claw back the information, but EOIR refused.

 

° The former Chief Immigration Judge is a white female in her fifties. Upon information
and belief, she resigned or retired in July 2019.

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26. On March 1, 2017, two immigration bar attorneys (“Attorney One and Attorney
Two”) filed a complaint with Plaintiffs supervisor. The complaint alleged that Plaintiff
mishandled four court hearings between February and March 2017, and that she manifested
improper judicial bias, demeanor, and incompetence in those hearings. Notably, the complaint
stated that “Judge Bain has been counseled in the past but that apparently has not been sufficient
to instill the necessary dignity and decorum required in her proceedings.” Plaintiff understood this
comment to be a reference to the privacy-protected information that EOIR had released to AILA
two months earlier.

27. The March 1, 2017 complaint was the first such complaint filed against Plaintiff,
then in her seventh year of service as an immigration judge.

28. Plaintiffs supervisor did not apprise Plaintiff of the two attorneys’ March 1, 2017
complaint. Plaintiff learned about the complaint at the start of a March 7, 2017 court hearing,
when Attorney One presented a Motion for Recusal that attached her March 1, 2017 complaint as
an exhibit. Attorney One informed Plaintiff that a copy of the complaint had been emailed to the
court administrator the day before the hearing, and that she expected Plaintiff to immediately

recuse.

29. Concerned that the court administrator might have engaged in an impermissible ex
parte communication, Plaintiff asked the court administrator to testify concerning that
communication in open court. The court administrator’s testimony served two purposes: (1) to
cure the ex parte nature of the communication by divulging it to government counsel; and (2) to
confirm that, prior to the March 7, 2017 court hearing, Plaintiff did not receive from the court

administrator the two attorneys’ March 1, 2017 complaint or their joint Motion for Recusal.

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30. On March 28, 2017, the two immigration attorneys filed a second complaint with
Plaintiff's supervisor. The second complaint alleged that Plaintiff abused her judicial authority by
refusing immediately to recuse from all of their cases, and by requiring the court administrator to
testify about the ex parte communication with Attorney One. The second complaint also accused
Plaintiff of witness intimidation.

31. Plaintiff’s supervisor directed Plaintiff to respond to both the recusal motion and
the underlying March 1, 2017 and March 28, 2017 complaints. While on extended work-related
travel to New Mexico, Plaintiff prepared a response without the benefit of her paper records.

32. Through an order dated June 8, 2017, Plaintiff responded to the recusal motion and
the two underlying complaints. The Recusal Order applied the recusal procedure and standards
prescribed in EOIR’s policy memorandum, known as OPPM 05:02. Promulgated in 2005, OPPM
05:02 was modeled after the recusal procedure for federal judicial officers in 28 U.S.C. § 455(a)
& (b), and the United States Supreme Court’s decision in Liteky v. United States, 510 U.S. 540
(1994). In addition, Plaintiff's Recusal Order applied the Immigration Judges’ Ethics Guide,
which is a code of judicial ethics and conduct for immigration judges. The Recusal Order was
subsequently affirmed by the Board of Immigration Appeals (“BIA”).

33. Nevertheless, in early August 2017 EOIR referred Plaintiff to OPR for an
investigation. The referral email was prepared by the former EOIR Deputy Director. The former
Deputy Director had supervised the litigation of Plaintiff's EEOC action. Upon information and
belief, she had worked in OPR for 12 years and had applied for an immigration judge position in

the Arlington Immigration Court at the same time that Plaintiff applied for a reassignment to that

 

° The former EOIR Deputy Director is a white female in her fifties. Upon information
and belief, she left the Defendants’ employ in 2019 or 2020.

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court. Her email communication with OPR indicated that she was aware of OPR’s policy of not
intervening in pending litigation; however, she pleaded with OPR to initiate and expedite an
investigation of Plaintiff, asserting — without any factual basis — that an OPR investigation would
prevent further harm to the two complaining attorneys’ reputation.

34. Later that month (August 2017), ACIJ Two issued a performance rating that again
credited Plaintiff with satisfactory work performance but noted a deficiency in professionalism.
The performance rating referenced the August 2016 counseling letter that the supervisor had issued
to Plaintiff; however, it did not reference the counseling letter that the supervisor had issued to her
white female colleague, which faulted that colleague for unprofessional behavior toward Plaintiff.

35. On August 29, 2017, Plaintiff received a Letter of Inquiry from OPR that directed
her to respond to the two immigration bar attorneys’ March 2017 complaints. Plaintiff prepared a
response while on extended work-related travel to Louisiana, where she did not have access to her
counsel or her paper records.

36. In November 2017, Plaintiff filed a 97-page written response to the OPR Letter of
Inquiry. Thereafter, Plaintiff sat for a seven-hour interview with OPR investigative counsel on

June 29, 2018.

37. In her November 2017 written response, Plaintiff documented the abuse of EOIR’s
Immigration Judge Complaint Resolution Program (“CRP”) by which Plaintiff was referred to
OPR for an investigation. Plaintiff described the structural and Constitutional infirmities of the
program and explained how litigants misused it to gain a litigation advantage over their opponents.
Using hearing records from the four court cases that OPR was investigating, Plaintiff showed that
her referral to OPR for an investigation lacked sufficient predication, because the BIA had already

affirmed her Recusal Orders in seven of the attorneys’ cases.

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38. Soon thereafter, the BIA adjudicated an appeal in one of the four cases that OPR
was investigating. On January 2, 2018, the Board issued an order vacating Plaintiff's decision on
the merits and remanded the case to another immigration judge for a new hearing. See Exhibit 8
(filed under seal).

39. According to the BIA, Plaintiff displayed unprofessional behavior toward Attorney
One while conducting a February 17, 2017 court hearing. The BIA found that Plaintiff had berated
and screamed at Attorney One during an off-record exchange that lasted five minutes. The BIA
also found that Plaintiff unreasonably denied Attorney One’s request for a break in the middle of
her client’s cross-examination.

40. Plaintiff promptly filed a Motion for Reconsideration, asserting that the BLA’s
findings and conclusions were erroneous. The BIA, however, denied the motion upon concluding
that Plaintiff lacked standing to bring it.

41. Plaintiff subsequently called OPR’s attention to the BIA’s erroneous January 2,
2018 decision. After completing its investigation, OPR agreed that two of the BIA’s findings were
clear errors.

a. In particular, OPR determined that Plaintiff could not have berated and
screamed at Attorney One for five minutes during the off-record exchange, because the
courtroom’s audio recordings indicated that Plaintiff went off-the-record for only 31 seconds.

b. OPR also determined that Plaintiff did not mistreat Attorney One by
denying a recess in the middle of her client’s cross-examination. OPR concluded that it was
reasonable to make the attorney wait until after cross-examination was completed to take a break.

42. Notwithstanding the clear errors, the Board’s January 2, 2018 unpublished decision

was swiftly dispatched to the news media. It was published in a news article on January 5, 2018.

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The publication has caused much embarrassment and mental anguish to Plaintiff, because she has
been unable to obtain its retraction or rescission. The publication of the errant January 2, 2018
decision has harmed Plaintiff's professional reputation and has impeded her ability to find another
job. Moreover, the Defendants’ eventual decision to terminate Plaintiff's employment rested, in
part, on a mistaken belief that Plaintiff herself had disseminated the BIA’s J anuary 2, 2018 decision
to the media.

43. In May 2018, Plaintiff amended her pending EEO complaint to add allegations of
discrimination, retaliation for engaging in protected activity, and hostile work environment. The
additional allegations asserted that Plaintiff's referral to OPR for an investigation in August 2017
and the BIA’s January 2, 2018 decision were motivated by discriminatory and retaliatory animus.

44. After discovery in the EEOC action closed and in April 2019, Defendant EOIR
moved for dismissal by summary judgment.

45. On July 22, 2019, while Defendants’ Motion for Summary Judgment was pending
before the EEOC, OPR issued a draft Report of Investigation after completing its two-year
investigation of Plaintiff. As the draft Report cited, referenced, incorporated, or discussed
evidence that Plaintiff did not have, Plaintiff requested that OPR investigative counsel immediately
release the full OPR investigative record, so that she could prepare a fulsome response to the draft
Report. OPR investigative counsel denied the request, stating that OPR had not “designated” a
Record of Investigation. OPR counsel further stated that OPR does not release records of witness
interviews.

46. On August 5, 2019, Plaintiff filed a request for release of information under the
FOIA and Privacy Act. This was Plaintiff's third FOIA request, and it was directed to the OPR

FOIA Office. The third FOIA request sought the full OPR record of investigative evidence. It

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also requested expedited processing, citing as the reason the short time frame Plaintiff was given
to respond to the draft OPR Report.

47. The OPR FOIA Office did not respond to Plaintiffs FOIA request until after the
deadline for responding to the OPR Report had passed.

48. Without access to the full OPR evidentiary record, Plaintiff filed a cursory response
to the draft Report of Investigation on September 6, 2019, citing only evidence that was available
to her at the time. Her response strenuously objected to OPR’s refusal to produce the full record
of evidence.

49. On September 27, 2019, OPR issued a final Report of Investigation. The OPR Final
Report quoted, referenced, or discussed the testimonies of 13 eyewitnesses whom OPR had
interviewed in the course of its two-year investigation. The 13 eyewitnesses included the two
complaining attorneys, their attorney, Plaintiffs immediate supervisor (ACIJ 2), the court
administrator, two government attorneys, three court interpreters, and at least one court security
officer. Of the 13 interviews, OPR released to Plaintiff only one interview transcript — Plaintiffs.

50. On October 4, 2019, OPR formally acknowledged receipt of Plaintiff's August 5,
2019 FOIA request. OPR assigned the request a processing number but declined to expedite it.
Between October 2019 and March 2020, OPR took no further action.

51. On October 8, 2019, Plaintiff was placed on administrative leave as a result of the
OPR Report of Investigation. She would remain on paid administrative leave until her removal on
September 17, 2020. During that time, Plaintiff attempted to find another job but was unable to
do so, she suspects, because the BIA’s January 2, 2018 decision had been published in the news

media,

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52. Thereafter, and on February 26, 2020, the EEOC administrative judge granted
Defendant EOIR’s Motion for Summary Judgment without a hearing.

53. The day after the EEOC administrative judge dismissed Plaintiff's EEO complaint,
Defendants proposed Plaintiffs removal from the career federal service. The February 27, 2020
Notice of Proposed Removal was explicitly predicated on the OPR Final Report of Investigation.

54. Along with the Notice of Proposed Removal, EOIR released 1801 pages of
documents that comprised the “EOIR Removal Record.” The EOIR Removal Record, however,
contained only four of the 13 interview transcripts or audio recordings referenced in the OPR Final
Report.

55. On March 30, 2020, seven months after Plaintiff filed her August 5, 2019 FOIA
request, OPR finally responded to the FOIA request and released 45 pages of documents. OPR
withheld 530 pages on a claim of exemption but did not provide a Vaughn Index. The 45 pages
of record materials were not part of the 1801-page EOIR Removal Record. As of today, OPR has
continued to withhold the nine remaining OPR witness interview transcripts that it referenced,
quoted, or discussed in the Final Report of Investigation.

56. Without the full OPR record of evidence, Plaintiff was unable to provide a fulsome
response to the EOIR Notice of Proposed Removal. In her response filed with the Office of the
Deputy Attorney General on May 12, 2020, Plaintiff argued that Defendants’ refusal to release the
full OPR record of evidence was a denial of due process and a violation of the CSRA’s pre-
termination procedures.

57. On June 3, 2020, Plaintiff filed an appeal with the Justice Department’s Office of

Information Policy (“OIP”), requesting that it release the remaining records of the OPR

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investigation and provide a Vaughn Index, so that she could prepare for the July 16, 2020 pre-
termination hearing. OJP did not respond.

58. Following the pre-termination hearing, Plaintiff submitted a Supplemental
Response on August 11, 2020 that called out the most significant factual and legal errors in the
OPR Final Report of Investigation. The supplemental response also explained why the penalty of
removal would be grossly disproportionate to the alleged misconduct, even if the charges against
Plaintiff could be proven. An accompanying 150-page compilation of documents shows that
Plaintiff’s white male colleagues routinely received preferential treatment on such matters as case
assignment, court assignment, special work opportunities, promotion, retention, and discipline.
They had been subjects of misconduct complaints that were far more serious than what Plaintiff
was charged with. Yet, they received very lenient treatment. They were not disciplined at all, let
alone removed from federal service.

59. On August 17, 2020, a career Associate Deputy Attorney General in the Office of
the Deputy Attorney General issued a decision proposing to terminate Plaintiffs 29-year
employment with the Justice Department.’ The decision acknowledged that this was Plaintiff's
first encounter with the attorney discipline process in nearly 29 years of employment. It further
acknowledged that Defendants failed to maintain a Table of Penalties and to keep complete records
of disciplinary and adverse actions involving immigration judges. Nevertheless, the decision

found that Plaintiff's removal from federal service was the most appropriate sanction. The

 

’ Upon information and belief, the career Associate Deputy Attorney General is a white
male in his fifties. Previously, he served as an associate counsel and deputy chief counsel in
OPR. He also served as Chief of Staff of the National Security Division from 2016 until July
2018, when he was promoted to the position of Associate Deputy Attorney General by then-
Attorney General Jeff Sessions.

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decision further acknowledged that Plaintiff was denied access to the full OPR record of evidence.
However, it concluded that Plaintiff suffered no resulting prejudice.

60. On September 17, 2020, former Attomey General William Barr signed the
proposed Removal Decision to indicate his concurrence.

COUNT I: Violations of the FOIA and Privacy Act
for Failure to Make Records Available

61. Plaintiff repeats and realleges the factual allegations in the foregoing paragraphs 1
to 60, as if fully set forth herein.

62. The FOIA statute confers on the district court sole and exclusive jurisdiction “to
enjoin the agency from withholding agency records and to order the production of any agency
records improperly withheld.” 5 U.S.C. § 552(a)(4)(B).

63. Plaintiff seeks immediate disclosure of improperly withheld records that are
responsive to her three FOIA and Privacy Act requests, filed in September 2015, January 2018,
and August 2019, respectively.

64. The three FOIA requests sought records that were exclusively within Defendants’

custody and control.

65. Defendants failed to process Plaintiffs three FOIA requests on a timely basis.

66. Defendants failed to process Plaintiff's three FOIA requests on an expedited basis.

67. Inresponse to Plaintiff's September 2015 FOIA request, Defendant EOIR released
a total of 100 pages of documents, on a rolling basis. The last release was in August 2017. EOIR
asserted a general claim of privilege over the remaining documents, but it refused to identify the
withheld records or provide a Vaughn Index.

68. As Plaintiff would later discover, EOIR improperly withheld approximately 1,000

pages of documents that were responsive to her September 2015 FOIA request. While taking an

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ethics training course, she came upon the 1,000 pages which were stored in an electronic folder
labeled “BAIN FOIA 2015.” The folder was found in an EOIR shared drive that was mapped to
her office computer. Plaintiff promptly reproduced the 1,000 pages to EOIR during discovery in
the EEOC action and expressed her intention to use the documents as evidence of the agency’s
discriminatory actions. A time-consuming, costly, and protracted discovery battle ensued.

69. Initially, the EEOC administrative Judge determined that she lacked the authority
to compel EOIR’s release of the “BAIN FOIA 2015” documents. However, after EOIR moved
for sanctions in October 2018, the administrative judge determined that EOIR had failed to
demonstrate that Plaintiff acted improperly or engaged in misconduct when she obtained and
reproduced the documents in the “BAIN FOIA 2015” folder for use in the EEOC litigation.

70. Subsequently, in April 2019 the administrative judge determined that the “BAIN
FOIA 2015” documents were not privileged, because any privilege that EOIR might have asserted
had been waived by the posting of those documents on its shared drive, which was accessible by
many EOIR employees.

71. Plaintiff brought the EEOC judge’s determinations to OPR’s attention. However,
there is no indication in the Final Report of Investigation that OPR had considered any of the
“BAIN FOIA 2015” documents.

72. On February 26, 2020, the same date on which the EEOC administrative judge
granted summary judgment to Defendant EOIR, she issued a Protective Order that covered the
documents in the “BAIN FOIA 2015” folder. The Protective Order requires special handling to
preserve EOIR’s right to assert privilege over those documents. The Protective Order further states

that the use of those documents is not restricted in any non-EEOC proceeding. Accordingly, in

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this district court action, Plaintiff intends to use some — if not all — of the “BAIN FOIA 2015”
documents as direct evidence of the agency’s discriminatory and retaliatory motives.

73. Plaintiff's January 2018 FOIA request sought substantially the same information as
her September 2015 FOIA request. In addition, it sought information relating to the BIA’s J anuary
2, 2018 decision finding that Plaintiff manifested improprieties in conducting the February 17,
2017 court hearing.

74. In response to the January 2018 FOIA request, Defendant EOIR released 34 pages
of non-responsive records. After Plaintiff appealed to the OIP, EOIR released additional records
that were not responsive. EOIR asserted a general claim of privilege over the remaining
documents, but it refused to identify the withheld materials or provide a Vaughn Index.

75. PlaintifPs August 5, 2019 FOIA request sought release of the entire compilation of

OPR investigative evidence.

76. In response to the August 5, 2019 FOIA request, OPR released 45 pages of
documents. It withheld the remaining 530 pages on a general claim of exemption but failed to
provide a Vaughn Index. The 45 pages of documents that OPR released to Plaintiff were not
included in the EOIR Record of Removal. Thus, at the time of Plaintiff's removal from federal
service in September 2020, OPR had continued to withhold nine of the 13 witness interview
transcripts or records that OPR cited, discussed, or incorporated into its draft and final Reports of
Investigation.

77. Plaintiff has exhausted all administrative remedies available to her under the FOIA
and Privacy Act, with respect to the three FOIA requests filed in September 2015, January 2018,

and August 2019.

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78. Plaintiff has a legal right under FOIA and the Privacy Act to obtain the requested
records, and there exists no legal basis for Defendants to refuse to promptly identify and make the
records available to Plaintiff.

79. Defendants’ failure to promptly identify and release the requested records to
Plaintiff violates the FOIA statute. See 5 U.S.C. § 552(a)(3)(A). See also Bartko v. U.S.
Department of Justice, 898 F.3d 51 (D.C. Cir. 2018), and Jefferson v. U.S. Department of Justice,
284 F.3d 172 (D.C. Cir. 2002) (holding that DOJ is legally obligated to release records of OPR
investigations to a first-party requestor, where the information was not compiled for law
enforcement purposes but rather for managerial-supervision purposes).

COUNT II: Discrimination, Retaliation for Protected Activity,
and Hostile Work Environment

80. Plaintiff repeats and realleges the factual allegations in the foregoing paragraphs 1
to 79, as if fully set forth herein.
Past and Continuing Discrimination
81. Plaintiffs removal from the federal service was the direct result of past and
continuing discrimination that began in January 2015 and ended with her removal in September
2020. By undertaking a series of discriminatory “materially adverse actions” during that time
period, Defendants laid the groundwork for her removal. These discriminatory adverse actions are
described in preceding Paragraphs 6 to 60. They are summarized below.
a. The March 2015 reprimand letter, June 2015 counseling letter, and August
2015 performance ratings contained significant factual errors that EOIR managers refused to
correct. In 2015, EOIR used these personnel actions to justify denying Plaintiff's second request
for a reassignment to the Arlington Immigration Court and her application for a Board Member

position, a position for which she was rated “most qualified.” As a result, PlaintifPs medical

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condition was exacerbated by the continuing use of frequently malfunctioning videoconference
equipment.

b. The August 2016 counseling letter and September 2016 performance rating
were discriminatory and retaliatory personnel actions that Defendants undertook to punish Plaintiff
for pursuing the December 2015 EEOC action. They exacerbated her medical condition by
requiring her to handle an extremely heavy caseload as compared to her white colleagues’
caseloads, and to suffer their abusive case dumping practices.

c. The January 2017 release of privacy-protected information from Plaintiff's
personnel file to AILA, and the inclusion of that information in the AILA attorncys’ March 2017
complaints, constituted retaliation for Plaintiff's pursuit of legal redress for the discrimination
through her EEOC action. The release of privacy-protected information caused emotional distress
for Plaintiff, triggering fears about misuse of the leaked information, and heightening undeserved
scrutiny of her work performance and conduct.

d. Plaintiff's referral to OPR for an investigation in August 2017 was
improperly predicated on the questionable, false claims of EOIR’s former Deputy Director. As a
result, Plaintiff had to devote an enormous amount of time, energy, and money to defending herself
against the charges and to dealing with the fall-out.

é. EOIR’s discriminatory motive was manifested throughout the OPR
investigation. A time-consuming, costly, and protracted discovery battle it orchestrated in the
EEOC litigation prevented Plaintiff from using approximately 1,000 pages of documents stored
the shared drive folder “BAIN FOIA 2015.” Although the documents were accessible by many
EOIR employees, EOIR falsely accused Plaintiff of hacking into the shared drive, stealing the

information, and replicating it for use in her EEOC action. Ultimately, the administrative judge

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determined that Plaintiff did not improperly access the “BAIN FOIA 2015” folder, and that any
privilege EOIR could have asserted over those documents had been waived. The protracted
discovery dispute, in turn, prevented proper factual development in the EEOC action, allowing
EOIR to move for summary judgment as soon as discovery closed.

f. EOIR’s deliberate concealment of adverse evidence in the EEOC action
contributed to its dismissal by summary judgment. The evidence EOIR withheld included the
BIA’s decisions affirming Plaintiff's Recusal Orders in seven cases. Those documents created a
genuine dispute of material fact concerning the propriety of Plaintiffs Recusal Order. Because
that key piece of evidence was withheld, the administrative judge was left with the mistaken
impression that Plaintiff's Recusal Order was so highly improper that it would justify an OPR
investigation.

g. Similarly, EOIR’s failure to divulge key evidence to OPR skewed the
investigation in its favor. The OPR Report was predicated on the highly improper, misleading
claim of the former EOIR Deputy Director that PlaintifPs Recusal Order warranted an
investigation. Had she disclosed the BIA’s affirmance of the Recusal Order in seven cases, OPR

would have been hard pressed to justify the investigation.

h. In the end, the misplaced OPR investigation, which was motivated by
discriminatory and retaliatory animus, cost Plaintiff her job, left her without health or life insurance
in the midst of the raging COVID-19 pandemic, irreparably damaged her professional reputation,
and diminished her future employment prospects.

New Claim of Discrimination
82. Plaintiff further asserts that her removal from federal service in September 2020 is

a discrete, new act of discrimination that violates federal anti-discrimination Statutes, as well as
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the Whistleblower Protection Act. She properly raised this new claim of discrimination and
whistleblower retaliation to the Office of the Deputy Attorney General through her May 12, 2020
Response and August 11, 2020 Supplemental Response to the Notice of Proposed Removal.

83. Regarding the new claim of discrimination, the materially adverse actions
described above are also discriminatory “prohibited personnel practices” that contributed to
Plaintiffs removal. Defendants undertook those discriminatory personnel practices for the
purpose of ousting Plaintiff from the Arlington Immigration Court and replacing her with an
external white male immigration judge candidate whom Defendants favored. See 5 U.S.C. §§
2302(b)(8) & (9). Below is a summary of the discriminatory personnel practices.

a. In March 2015, the judge candidate submitted his first immigration judge
application to EOIR, at a time when there was no vacancy in the Arlington Immigration Court.
That same month, Plaintiff received a reprimand from her supervisor for intemperate behavior.
The reprimand effectively barred her from obtaining a reassignment to the Arlington court for
three years.

b. In November 2015, the same judge candidate resubmitted his application
after a vacancy was announced. That month, Plaintiff learned that her request for a reassignment
to the Arlington court was denied, as was her application for a Board Member position.

c. In March 2017, the judge candidate was offered an immigration judge
position in the Arlington Immigration Court, at a time when courtroom space was insufficient to
accommodate him. That same month, two immigration bar attorneys filed a complaint of improper
conduct with Plaintiffs supervisor, alleging that Plaintiff's treatment of them warranted an

investigation.

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d. In June 2018, former Attorney General Jefferson Sessions appointed the
judge candidate to the Arlington Immigration Court. That month, Plaintiff sat for a hostile, seven-
hour interview with OPR investigative counsel and was later found to have lacked candor in
answering two questions.

a In September 2018, the judge candidate was invested as an immigration
judge on the same day that Attorney General Sessions resigned. The new judge began his
employment in the Arlington Immigration Court. He was assigned his own courtroom, while
Plaintiff had to share her courtroom with one or two other female judges.

f. In April 2019, a federal court of appeals determined that the new judge had
violated the rules of judicial ethics and professional responsibility, in the manner in which he
pursued his immigration judge appointment. While pursuing the appointment, the judge presided
over a military commission trial in which Justice Department lawyers from the National Security
Division served as prosecutors, and the judge refused to disclose his immigration judge application
to defense counsel, despite being asked to do so. To remedy this serious ethical violation, the court
of appeals tossed the judge’s rulings going back four years, to the time when he first began
pursuing an immigration judge position in March 2015.

g. Despite this very serious ethical breach, the new judge’s employment was
not terminated while he was still on probation. Instead, in September 2020, after he completed his
two-year probationary term, Defendants terminated Plaintiff's employment after 29 years of
exemplary public service to the Justice Department.

84. The discriminatory and retaliatory personnel practices that Defendants undertook
over the course of those five years directly resulted in Plaintiff's removal. She was replaced by an

external white male judge candidate who, by Defendants’ admission, had virtually no prior

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immigration practice experience when he was appointed an immigration judge. That the new judge
was not discharged — and, indeed, was subsequently promoted to a supervisory position — after a
federal court of appeals found that he violated the rules of ethical and judicial conduct further
underscores the disparate and discriminatory hiring, promotion, disciplinary and retention
practices at EOIR.
COUNT III: Whistleblower Retaliation

85.  Plaintiffrepeats and realleges the factual allegations in the foregoing paragraphs 1-
84, as if fully set forth herein. Plaintiff's claim of whistleblower retaliation is based on the
following allegations of discriminatory “prohibited pcrsonnel practices” thal Defendants
undertook to punish Plaintiff for making disclosures of violations of law; gross mismanagement;
and fraud, waste, and abuse. The disclosures directly contributed to her removal in September
2020.

86. In March 2015, Plaintiff objected to a work assignment that would have caused her
to violate the law governing immigration detention.

a. At the time, Plaintiff was detailed to the York, Pennsylvania Immigration
Court and was to conduct hearings in over 100 aged, detained cases by tele-videoconference. Most
of the cases involved detainees who had been detained for three to four years pending completion
of their court proceedings. After they were denied bond hearings, many detainees filed habeas
corpus petitions seeking immediate release from immigration custody.
b. When Plaintiff expressed concern about the heightened litigation risks that

prolonged detentions without bond hearings presented to the agency as well as to Plaintiff, her
supervisor (ACIJ One) retaliated by issuing a March 2015 reprimand that criticized her for

displaying intemperate behavior toward him. The reprimand was effective for a period of three

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years, and it barred Plaintiff from obtaining a reassignment to the Arlington Immigration Court’s
non-videoconference docket. The reprimand forced Plaintiff to continue hearing aged, detained
cases out of the York Immigration Court, using dated tele-videoconference equipment that
frequently malfunctioned and caused her to suffer migraine headaches.

c. Within a month of the disclosure to her supervisor, EOIR replaced failing
videoconference equipment in her courtroom. The new equipment, however, also failed because
of deficient infrastructure. Plaintiff then received authorization to travel to the York Immigration
Court to conduct her assigned court hearings in person. However, in June 2015 her supervisor
issued a counseling letter accusing Plaintiff of traveling without his permission. He revoked the
travel authorization that Plaintiff had received from other EOIR personnel, which resulted in
Plaintiff being denied approximately $400 in travel expense reimbursement.

d. After OPR commenced an investigation of Plaintiff on unrelated charges,
Defendants retaliated against her by providing the March 2015 reprimand and June 2015
counseling letter to OPR. The OPR Final Report cited those personnel actions as evidence of
Plaintiff's tendency toward insubordination and lack of professionalism. Thereafter, the former
EOIR Director® used the March 2015 reprimand and June 2015 counseling letter to propose her
proposed removal.

87. In August 2016, Plaintiff voiced concern about the abusive case assignment
practices that her next supervisor (ACIJ Two) employed. The supervisor had transferred fifteen-
to-twenty-year-old, problematic cases from the dockets of white male judges to Plaintiff's docket
and required Plaintiff to expeditiously complete those cases. The supervisor also allowed other

non-supervisory judges to dump their unwanted cases on Plaintiff's docket, which caused

 

’ The former EOIR Director was a white male in his forties.

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numerous scheduling conflicts. Finally, the supervisor assigned Plaintiff two to three times the
number of new cases as she assigned to other judges.

a. When Plaintiff expressed concern about her unsustainable workload, the
supervisor issued an August 2016 counseling letter that criticized Plaintiff for sending an email to
another judge, demanding that the other judge stop scheduling court hearings directly on Plaintiffs
hearing calendar. The counseling letter threatened to terminate Plaintiffs employment. The
counseling letter was then used to justify a downgrade of her September 2016 and August 2017
performance ratings. It was released to AILA in January 2017, which cited the counseling in the
two attorneys’ March 1, 2017 complaint filed with Plaintiff's supervisor.

b. After Plaintiff amended her EEO complaint in May 2018 to oppose these
gross and abusive management practices, EOIR officials changed the regulation concerning case
assignment. The new regulation provides that only the EOIR Director or the Chief Immigration
Judge may direct the deferral of adjudication of any case or cases by an immigration judge. See 8
C.F.R. 1003.10(b) (2019). It augments a pre-existing regulation that limited case reassignments
among sitting judges to circumstances such as disability, retirement, or death of the originally
assigned judge.

c. Notwithstanding the regulatory change, EOIR continued to use the
disingenuous August 2016 counseling letter to justify Plaintiff's removal. The counseling letter

was released to OPR, which used the letter to support its finding of improper courtroom conduct.”

 

* Throughout the two-year OPR investigation, Plaintiff apprised OPR counsel of
developments in her EEOC case, to the extent they were relevant to the OPR investigation. For
example, Plaintiff called OPR counsel’s attention to the illegal disclosure of privacy-protected
information from her personnel file to AILA two months before the filing of the immigration
attorneys’ March 2017 complaint with Plaintiff's supervisor. In response, OPR investigative
counsel stated that the unauthorized disclosure was not harmful to Plaintiff, because in conducting
the investigation, OPR had to consider that information anyway. In 2018, Plaintiff advised OPR

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The EOIR Director cited the counseling letter to propose Plaintiff's removal and in moving for
summary judgment in her EEOC action. The Office of the Deputy Attorney General also cited the
counseling letter as justification for her removal.

88. In February 2018, Plaintiff objected to her supervisor’s (ACIJ Two’s) instruction
that she grant relief in several pending cases, against her best judgment. Plaintiff's objection rested
on the regulation at 8 C.F.R. 1003.9 (2018), which prohibits a supervisory judge from dictating
case outcomes to subordinate judges. When the supervisor continued pressuring Plaintiff to grant
relief, Plaintiff copied EOIR senior management on the email correspondence. In her email,
Plaintiff objected to the supervisor’s interference with her work, and asked that the supervisor
respect her decisional independence.

a. Soon thereafter, EOIR revised the regulation to make it clear that a
supervisory judge may not dictate case outcomes to a line judge. A new regulation at 8 C.F.R.
1003.10 (2019) provides that in deciding the individual cases before them, “immigration judges
shall exercise their independent judgment and discretion and may take any action consistent with
their authorities under the Act and regulations that is appropriate and necessary for the disposition
of such cases.” Jd.

b. Notwithstanding the regulatory change, EOIR used Plaintiff's February
2018 email communication with the supervisor to justify her removal. A copy of that email was
provided to OPR, which quoted the email out of context to support its finding of insubordination.
The former EOIR Director referred to the email in his affidavit supporting the agency’s Motion

for Summary Judgment in the EEOC action. Based on that affidavit and other evidence EOIR

 

counsel that she had located the “BAIN FOIA 2015” documents in the agency’s shared drive and
asked that OPR counsel examine those documents for evidence of discrimination and retaliation.
There is no indication in the OPR Final Report of Investigation that OPR counsel did so.

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provided, the EEOC concluded that Plaintiff had failed to show that her supervisors’ actions were
motivated by discrimination or retaliation.

89. In November 2017, Plaintiff disclosed to OPR her concerns about EOIR’s
Constitutionally infirm Immigration Judge Complaint Resolution Program. Plaintiff disclosed the
structural flaws in the program that litigants exploited to their advantage. Using statistical
evidence, she described how the program encouraged dissatisfied litigants to engage in judge
shopping, by misusing the recusal procedure to obtain immediate disqualification of a disfavored
judge.

a. As a result of this disclosure, EOIR immediately revamped its process for
investigating misconduct complaints. The first draft of the new immigration judge complaint
resolution protocol was circulated in November 2017. The second draft was published in April
2018. As of today, EOIR has not implemented a final version of the new complaint resolution
protocol.

b. This disclosure by Plaintiff to OPR apparently triggered another disclosure:
The Justice Department’s view on ex parte communications between immigration judges and
litigants. On October 8, 2019, the Justice Department’s Professional Responsibility Advisory
Office (“PRAO”) issued an advisory opinion that contradicts EOIR’s April 2018 version of the
complaint resolution protocol. According to the PRAO advisory opinion, an ex parte complaint
of judicial misconduct filed with a supervisory immigration judge should be disclosed to the judge
who is the subject of the complaint, as well as to the opposing party, as soon as practicable.
According to PRAO, this would disincentivize the use of ex parte complaints by immigration court

litigants to gain an unfair advantage over their opponents.

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c. Defendants’ response to Plaintiff's disclosure of this abuse of process was
to ignore it. OPR concluded that Plaintiff exhibited poor judgment in asking the court
administrator to testify about her ex parte communication with Attorney One, even though it
triggered Plaintiff's disclosure obligation under the Immigration Judges Ethics Guide and the
PRAO advisory opinion. The EOIR Director ignored the PRAO advisory opinion and found that
Plaintiff engaged in “conduct unbecoming an immigration judge” when she asked the court
administrator to testify about the ex parte communication. In the Removal Decision, the Associate
Deputy Attorney General did, too.

90. As described above, Plaintiff's protected disclosures effectuated meaningful
changes in EOIR regulation, policy, and practices. However, rather than crediting Plaintiff with
the improvements, EOIR terminated her employment in retaliation for the disclosures.

Prayer for Relief

WHEREFORE, Plaintiff respectfully requests that this Court award the following
declaratory and injunctive relief:

Count I: Violation of the FOIA

91. Declare that Defendants violated the FOIA by failing to identify the requested
information and materials;

92. Declare that Defendants violated the FOIA by unlawfully withholding the
requested information and materials:

93. Declare that Plaintiff has a legal right to access the entire OPR record of
investigative evidence, including all OPR witness interview records that are cited, discussed, or

incorporated into the OPR Final Report of Investigation;

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94. Declare that the approximately 1,000 pages of documents that were stored in the
agency’s shared drive, in a folder labeled as “BAIN FOIA 2015,” are admissible in this district
court action and may be used in any related judicial or administrative proceeding;

95. Order Defendants to release immediately the requested information and materials
to Plaintiff in a suitable format without charge for any search or duplication fees. In the alternative,
provide for expedited proceedings to adjudicate Plaintiff's rights under the FOLA and Privacy Act;

96. As to any requested information and materials responsive to Plaintiff's requests that
Defendants wish to withhold or redact as being exempt from disclosure, Order Defendants to
provide Plaintiff with an itemized, indexed inventory thereof, accompanied by a staternent of
justification explaining each such withholding or redaction, in accordance with the requirements
of Vaughn v. Rosen, 484 F.2d 820 (D.C. Cir. 1973), cert. denied, 415 U.S. 977 (1974);

97. Award Plaintiff her reasonable costs and attorneys’ fees;

Count II: Discrimination

98. Declare that Plaintiff has a due process right under the Fifth and Fourteenth
Amendments to be from interference in the discharge of her duties.

99. Declare that Defendants’ materially adverse personnel actions injured Plaintiff s
liberty or property interest in her continued employment, and that they also interfered with the
lawful discharge of the duties of her office. See 42 U.S.C. § 1985(1).

100. Declare that Defendants committed harmful errors in arriving at the September 17,
2020 Removal Decision, in violation of 5 U.S.C. §§ 7701(c)(2)(A) & (C), 7701(c)(3).

101. Declare that Defendants have not proven the charges by a preponderance of the

evidence, and that they improperly weighed the Douglas mitigating and aggravating factors;
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102. Declare that Plaintiff experienced severe discrimination and retaliation for
engaging in protected EEO activity as well as a hostile work environment, in violation of anti-
discrimination statutes.

103. Declare that Defendants evaluated Plaintiffs performance and conduct in a
discriminatory and retaliatory manner, and that the records of such personnel evaluations contain
significant mistakes of fact requiring correction;

104. To remedy the substantial interference with Plaintiff's Constitutional and statutory
rights in her employment:

a. Order the rescission and sealing of the Attorney Gencral’s September 17,
2020 Removal Decision.

b. Order the rescission and sealing of OPR’s draft Report of Investigation and
Final Report of Investigation;

C. Order the rescission of the BIA’s erroneous January 2, 2018 decision and
its retraction from all internet and media outlets.

d. Order correction of the errors in Plaintiffs official personnel file,
performance rating files, and similar record files in a manner consistent with 5 U.S.C. § 552a. The
personnel actions that require correction include the March 2015 reprimand, June 2015 counseling
letter, August 2015 performance rating, August 2016 counseling letter, September 2016
performance rating, August 2017 performance rating.

105. Award Plaintiff reasonable attorneys’ fees, costs, and other consequential damages;

106. Award Plaintiff compensatory damages for pain and suffering, emotional distress,

damage to professional reputation that resulted from Defendants? discriminatory employment

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actions between March 2015 and September 2020, to include full back pay, interest, and loss of
employment-related benefits;
107. Award compensatory damages for the mental anguish and public humiliation that
Plaintiff has suffered as a result of the public dissemination of the January 2, 2018 BIA decision.
Count III: Whistleblower Retaliation
108. Declare that Plaintiff experienced severe and discriminatory retaliation for
engaging in protected whistleblower activity, and that her protected disclosures contributed to her
discharge on September 17, 2020, in violation of the Whistleblower Protection Act.
109. Award Plaintiff her reasonable costs and attorneys’ fees;
110. Award Plaintiff compensatory damages for pain and suffering caused by the severe
harassment and retaliation that she experienced on account of her protected disclosures;
111.  Reinstate Plaintiff to the position she held before her removal, or, in the alternative,
reassign her to a comparable position at the same pay level and in the same commuting area.
112. Any other relief as the Court deems just and proper.
Dated: June 22, 2021 Respectfully submitted,
/s/ Quynh Vu Bain Waar
Quynh Vu Bain

Plaintiff, pro se

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